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                            UNITED STATES DISTRICT COURT
                            NORTHERN DISTRICT OF INDIANA


LIGTEL COMMUNICATIONS, INC.,

                               Plaintiff,

                       v.
                                                              Case No. 1:20-cv-00037-HAB-SLC
BAICELLS TECHNOLOGIES INC.;
BAICELLS TECHNOLOGIES NORTH AMERICA
INC.,

                               Defendants.



        MOTION FOR ENTRY OF ORDER FOR PRELIMINARY INJUNCTION

       Plaintiff LigTel Communications, Inc. moves this Court for an order granting LigTel’s

motion for a preliminary injunction and entering a preliminary injunction against Defendants

BaiCells Technologies Inc. and BaiCells Technologies North America Inc. (collectively,

“BaiCells”), or in the alternative, giving BaiCells notice that a preliminary injunction will issue if

BaiCells does not respond to the motion for preliminary injunction within seven days.

       On January 21, 2020, LigTel filed its Complaint seeking to enjoin BaiCells from holding

itself out as LigTel by using LigTel’s Home Network Identity number without authorization, and

from misappropriating and threatening misappropriation of LigTel’s trade secrets. Dkt. 1. LigTel

also moved for a preliminary injunction because, absent this Court’s intervention, LigTel is

suffering and will continue to suffer irreparable harm as a result of BaiCells’s actions. See Dkt. 4.

Specifically, BaiCells’s actions cause “service providers to wrongly believe that LigTel is

improperly interfering with their networks and failing to follow international and industry-imposed

telecommunications rules, which harms LigTel’s standing, reputation, and goodwill in the

industry.” Id. at 1. BaiCells’s actions also “cause immeasurable damage to the security and
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integrity of LigTel’s network,” “create a serious and substantial risk that law enforcement will be

unable to obtain critical information,” and “may cause LigTel’s customers to question LigTel’s

ability to maintain and control its own network and secure their personal information and private

communications.” Id. A preliminary injunction is therefore appropriate because without one

LigTel will suffer irreparable harm for which it has no adequate legal remedy, LigTel will likely

succeed on the merits of its unfair competition and trade-secret misappropriation claims, and the

balance of equities favors an injunction. See id. at 8-14.

       On January 22, 2020, BaiCells was served with the Complaint and Motion for Preliminary

Injunction. Dkt. 10, 11. Pursuant to Local Rule 7-1(d)(3)(A), BaiCells’s response to the Motion

for Preliminary Injunction was due on February 5, 2020. As of this filing, BaiCells has not

responded to the Motion for Preliminary Injunction, filed an appearance in this matter, or otherwise

contacted LigTel or counsel for LigTel.

       Because BaiCells has failed to respond to the Motion, the Court may enter the Order

attached, preliminarily enjoining BaiCells from its ongoing violations of the Lanham Act, federal

trade secrets law, and Indiana state law. See Local Rule 7-1(d)(5). In the alternative, LigTel

respectfully requests that the Court issue an order notifying BaiCells that failure to respond to

LigTel’s Motion for Preliminary Injunction within seven days will result in entry of a preliminary

injunction.
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Dated: February 7, 2020               Respectfully submitted,

                                      /s/ Gabriel K. Gillett_____

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                               CERTIFICATE OF SERVICE

       I hereby certify that on February 7, 2020, I caused the foregoing document to be filed

electronically with the Clerk of the Court using the CM/ECF system and emailed a proposed

order to brady_chambers@innd.uscourts.gov per this Court’s CM/ECF User Manual, and sent a

paper copy of the foregoing document and proposed order to the following defendants at the

following addresses:

       BaiCells Technologies Inc.
       c/o Registered Agent Solutions, Inc.
       9 E. Loockerman Street, Suite 311
       Dover, DE 19901

       BaiCells Technologies North America Inc.
       c/o Registered Agent Solutions, Inc.
       1701 Directors Blvd., Suite 300
       Austin, TX 78744

       BaiCells Technologies North America Inc.
       555 Republic Drive, Suite 200
       Plano, TX 75074


DATED: February 7, 2020

                                                    /s/ Gabriel K. Gillett
